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EXHIBIT 20
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UNITED STATES OF AMERICA Se,
Before the
COMMODITY FUTURES TRADING COMMISSIO SS
of Office of Proceedings
In the Matter of. Proceedings Clerk

UBS AG and UBS Securities Japan 8:00 am, Dec 19, 2072

 

Co., Ltd., CFTC Docket No. 13-09.

Respondents.

 

ORDER INSTITUTING PROCEEDINGS PURSUANT TO
SECTIONS 6(c) AND 6(d) OF THE COMMODITY EXCHANGE ACT
MAKING FINDINGS AND IMPOSING REMEDIAL SANCTIONS

I,

The Commodity Futures Trading Commission (the “Commission” or the “CFTC”) has
reason to believe that UBS AG and UBS Securities Japan Co., Ltd. (collectively, “Respondents”
or “UBS”) have violated Sections 6(c), 6(d) and 9(a)(2) of the Commodity Exchange Act (the
“Act” or the “CEA”), 7 U.S.C. §§ 9, 13b and 13(a)(2) (2006). Therefore, the Commission deems
it appropriate and in the public interest that public administrative proceedings be, and hereby are,
instituted to determine whether Respondents engaged in the violations set forth herein, and to
determine whether any order shall be issued imposing remedial sanctions.

I.

In anticipation of the institution of an administrative proceeding, Respondents have
submitted an Offer of Settlement (“Offer”), which the Commission has determined to accept.
Without admitting or denying the findings or conclusions herein, except to the extent
Respondents admit those findings in any related action against UBS by, or any agreement with,
the Department of Justice or any other governmental agency or office, Respondents herein
consent to the entry and acknowledge service of this Order Instituting Proceedings Pursuant to
Sections 6(c) and 6(d) of the Commodity Exchange Act Making Findings and Imposing

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' Respondents consent to the entry of this Order and to the use of these findings in this proceeding and

in any other proceeding brought by the Commission or to which the Commission is a party; provided,
however, that Respondents do not consent to the use of the Offer, or the findings or conclusions in this
Order, as the sole basis for any other proceeding brought by the Commission, other than in a proceeding
‘in bankruptcy or to enforce the terms of this Order or where Respondents have admitted findings as set
forth above. Nor do Respondents consent to the use of the Offer or this Order, or the findings in this
Order consented to in the Offer, by any other party in any other proceeding.

 
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TI.

The Commission finds the following:

A. . Summary

For more than six years, since at least January 2005, UBS, by and through the acts of
dozens of employees, officers and agents located around the world, engaged in systemic
misconduct that undermined the integrity of certain global benchmark interest rates, including,
but not limited to, the London Interbank Offered Rate (“LIBOR”) for certain currencies, the Euro
Interbank Offered Rate (“Euribor”) and the Euroyen Tokyo Interbank Offered Rate (“Euroyen
TIBOR”), that are critical to international financial markets.

UBS engaged in two overarching courses of misconduct. First, from at least January
2005 to at least June 2010, UBS made knowingly false submissions to rate-fixing panels to
benefit its derivatives trading positions or the derivatives trading positions of other banks in
attempts to manipulate Yen, Swiss Franc, Sterling and Euro LIBOR and Euribor, and,
periodically, Euroyen TIBOR. UBS, through certain derivatives traders, also colluded with
traders at other banks and coordinated with interdealer brokers in its attempts to manipulate Yen
. LIBOR and Euroyen TIBOR. For certain currencies and benchmark interest rates, this conduct
occurred on a regular basis and sometimes daily. UBS was, at times, successful in its attempts to
manipulate Yen LIBOR.

Second, from approximately August 2007 to mid-2009, UBS, at times, used false
benchmark interest rate submissions, including U.S. Dollar LIBOR, to protect itself against
media speculation concerning its financial stability during the financial crisis.

Manipulative Conduct for Profit

Throughout the period, UBS routinely skewed its submissions to interest rate-fixing
panels for Yen, Swiss Franc, Sterling and Euro LIBOR and Euribor and, at times, Euroyen
TIBOR, to benefit UBS’s derivatives trading positions that were tied to those particular
benchmarks. UBS used a flawed submission process that relied on inherently conflicted
employees to make submissions, UBS made derivatives traders responsible not only for trading
their derivatives books for a profit, but also for determining UBS’s benchmark interest rate
submissions, As a result, when determining the rates to submit to the official panels, UBS’s
submitters for these currencies and benchmarks often took into consideration how the
submissions might benefit their trading positions. These UBS submitters also accommodated
requests of other UBS derivatives traders for submissions that would be beneficial to their
trading positions, by either maximizing their profits or minimizing their losses. (see pp. 10-37
for Yen LIBOR and Euroyen TIBOR, p. 38 for Swiss Franc LIBOR, pp. 38-39 for Sterling
LIBOR, and pp. 39-41 for Euro LIBOR and Euribor, infra.)

This profit-driven conduct spanned from at least January 2005 through June 2010 and, at
times, occurred on an almost daily basis. It involved more than three dozen traders and
submitters located in multiple offices, from London to Zurich to Tokyo, and elsewhere. The

 
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misconduct included several UBS managers, who made requests to benefit their trading
positions, facilitated the requests of their staff for submissions that benefited their trading
positions, or knew that this was a routine practice of the traders and did nothing to stop it. UBS
traders inappropriately viewed their benchmark interest rate submissions, such as UBS’s LIBOR
submissions, as mere tools to help the traders increase the profits or minimize losses on their
trading positions. To be sure, UBS’s benchmark interest rate submissions frequently were not a
reflection of UBS’s assessment of the costs of borrowing funds in the‘relevant interbank markets,
as each of the benchmark definitions required.

In this environment, UBS, primarily through the acts and direction of a senior Yen
derivatives trader, orchestrated a massive, multi-year course of unlawful conduct to manipulate
Yen LIBOR on, at times, an almost daily basis and, periodically, Euroyen TIBOR. This senior
Yen trader, known as one of the largest traders in the entire Yen market, took on significant,
high-risk derivatives trading positions that generated hundreds of millions of dollars for UBS.
He implemented at least three manipulative strategies, which he often used simultaneously to
increase the likelihood that he would be successful: (i) he had UBS Yen LIBOR and Euroyen
TIBOR submitters make submissions for particular maturities (“tenors”) reflecting his preferred
rates (see pp. 12-17, infra.); Gi) he cultivated prior working relationships and friendships with
derivatives traders from at least four other banks and had them make requests of their Yen
LIBOR submitters based on his preferred rates (see pp. 17-20, infra.); and (ili) he used at least
five interdealer brokers, who intermediated cash and derivatives transactions for clients,
including other banks that made benchmark interest rate submissions, to disseminate false
market information relating to Yen LIBOR to multiple panel banks in order to impact their
submissions to his benefit. (see pp. 20-29, infra.)

The UBS senior Yen trader had the interdealer brokers utilize various methods to try to
affect the submissions of other banks, including: (i) disseminating false “run-throughs” of
suggested Yen LIBOR to many, if not all, of the panel banks (see pp. 22-24, infra.); (ii)
contacting directly other bank submitters (see pp. 24-26, infra.); (iii) publishing false market
cash rates over certain dedicated electronic screens available to clients (see p. 26, infra.); and (iv)
“spoofing” or making fake bids and offers, all tailored to drive the submissions of the other
banks to the rates that benefited the senior Yen trader’s derivatives positions. (see pp. 26-27,
infra.) To secure the cooperation of the brokers and, at times, other derivatives traders, the
senior Yen trader found ways to compensate them, including by executing additional trades or
wash trades to generate commissions for the brokers and by negotiating an extra UBS-paid fee or
bonus to one interdealer broker, totaling about $216,000 over an approximately two-year period.

UBS, through the senior Yen trader and others, made approximately 2,000 written
internal and external requests in attempts to manipulate Yen LIBOR in just a three-year period,
accounting for 75% of the days in which Yen LIBOR submissions were made by UBS during
that period.” Sometimes, the senior Yen trader sought to manipulate particular tenors on one

 

For purposes of this Order, the term “request” means a request for a preferential submission for a
‘particular tenor. For example, ifa UBS derivatives trader asked a UBS submitter that preferential rates be
submitted for three tenors, then the Commission views that as constituting three separate requests made
on that particular day.

 
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day, and sometimes he looked ahead and conducted sustained manipulative operations for weeks
to move Yen LIBOR in the direction he needed, even coining names for these longer-term
schemes, such as “the Turn Campaign” and “Operation 6m.” (see pp. 29-36 infra). At times,
UBS was successful in its attempts to manipulate Yen LIBOR for certain tenors.

UBS, through certain Yen traders, continued to use these strategies to attempt to
manipulate Yen LIBOR and Euroyen TIBOR, even after the senior Yen trader departed UBS in
late 2009, as UBS managed the massive trading positions he had accumulated for the firm.

False Reports to Protect Reputation

During the financial crisis, certain UBS managers issued directions for making UBS
benchmark interest rate submissions in order to protect against what UBS perceived as unfair and
inaccurate negative public and media perceptions about UBS. UBS first directed that UBS’s
submissions should “err on the low side” of the panel banks’ submissions, a direction its
submitters generally followed. UBS subsequently directed that UBS’s submissions be “in the
middle of the pack” of the panel banks’ submissions, and the submitters followed the direction
again, These directions at times improperly influenced submissions for U.S Dollar LIBOR, as
well as LIBORs for other currencies, and Euribor and Euroyen TIBOR, and at times resulted in
submissions that did not solely reflect UBS’s assessment of the borrowing costs of unsecured
funds in the relevant interbank markets, as required. At times, these directions resulted in UBS
knowingly making false, misleading or knowingly inaccurate LIBOR, Euribor and Euroyen
TIBOR submissions from early August 2007 to at least mid-2009. (see pp. 41-52, infra.)

A bank’s concerns about its reputation, negative market or press reports, or its trading
positions and related profits are not legitimate or permissible factors upon which a bank may
base its daily benchmark interest rate submissions. Benchmark interest rate submissions convey
market information about the costs of borrowing unsecured funds in particular currencies and
tenors, the liquidity conditions and stress in the money markets and a bank’s, such as UBS’s
ability to borrow funds in the particular markets. By basing its submissions, in whole or in part,
on UBS’s trading positions and at times its reputational concerns, UBS knowingly conveyed
false, misleading or knowingly inaccurate reports that its submitted rates for LIBOR, Euribor,
and Euroyen TIBOR were based on and solely reflected the costs of borrowing unsecured funds
in the relevant interbank markets and were truthful and reliable. Thus, UBS’s false submissions
contained market information that affected or tended to affect LIBOR, Euribor and Euroyen
TIBOR, commodities in interstate commerce.

The Conduct Continued After UBS Was on Notice of the CFTC Investigation
UBS continued to engage in all of the conduct described above, particularly the trader

manipulative conduct, long after it was on notice that the CFTC was investigating UBS in
connection with its U.S. Dollar LIBOR practices. UBS received a demand for documents and

 

* These directions to be “in the middle of the pack,” by definition, resulted in UBS’s submissions at

times being part of the calculation of the official published LIBOR. However, the Commission has not
found evidence that UBS issued or acted upon the directions with the intent to manipulate the official
published LIBOR for any currency or other benchmark interest rates.

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information from the CFTC’s Division of Enforcement in October 2008; yet the conduct of the
traders and submitters, including the collusive conduct, occurred well into 2010. The rampant
misconduct across benchmarks at UBS only came to light as a result of the CFTC’s subsequent
request in April 2010 that UBS conduct an internal investigation relating to its U.S. Dollar
LIBOR practices.

Commencing in or about late December 2010, Respondents provided substantial
assistance to the Division of Enforcement in its investigation, including information and analysis.
In accepting UBS’s Offer, the Commission recognizes Respondents’ cooperation as of late
December 2010.

B. Respondents

UBS AG is a Swiss banking and financial services company headquartered in Zurich and
Basel, Switzerland that provides investment banking, asset management and wealth management
services for private, corporate and institutional clients worldwide. It has operations in over 50
countries, including the United States. The Investment Banking division of UBS is responsible
for making submissions for benchmark interest rates.

UBS Securities Japan Co., Ltd. is the successor company to UBS Securities Japan, Ltd.,
which, at all times during the periods covered by this Order, was a wholly-owned subsidiary of
UBS AG and engaged in investment banking operations and was a securities broker-dealer. It
bad a branch office in Tokyo, Japan.

Cc, Facts

1. UBS Made False Reports and Attempted to Manipulate LIBOR and Other
Benchmark Interest Rates, at Times Successfully, to Benefit UBS’s
Derivatives Positions

From at least January 2005 through at least June 2010, UBS, through the acts of its
derivatives traders, benchmark interest rate submitters and managers, made false benchmark
interest rate submissions in an effort to manipulate the official fixings of Yen, Swiss Franc,
Sterling and Euro LIBOR, Euribor and Euroyen TIBOR. The goal was simple: to profit. UBS
held significant derivatives positions whose value depended on benchmark interest raies fixed by
rate-setting panels. As more fully described below, the panels fixed and issued the respective
benchmarks based on rates submitted by banks on the respective panels, such as UBS, that were
supposed to reflect an assessment of the costs of borrowing unsecured funds in the relevant
interbank money markets. UBS, however, made false submissions intended to manipulate these
- benchmarks to make its derivatives positions more profitable or to minimize losses.

Interest rate swaps traders (“Derivatives Traders”), located in UBS’s London, Zurich and
Tokyo offices, routinely asked their UBS colleagues who determined UBS’s submissions to
make certain submissions to affect the daily fixings for certain tenors of various LIBOR

 
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currencies, Euribor and, at times, Euroyen TIBOR. The Derivatives Traders’ purpose was to
benefit their respective derivatives trading positions. The UBS submitters often based their
submissions on the traders’ requests. Making matters even worse, for most of the period, until
approximately September 2009, UBS’s submitters wore two “hats” — they were also derivatives
traders themselves (“Trader-Submitters”) — and they also based UBS’s submissions on their own
desk’s trading positions.

Accordingly, throughout the six-year period, UBS, through its Trader-Submitters and
others, made benchmark interest rate submissions as set forth below reflecting rates that
benefitted UBS’s derivatives trading positions, rather than their assessment of the costs of
borrowing funds in the relevant markets. As detailed below, for certain benchmark interest rate
submissions, this occurred on an almost daily basis. The conduct of the dozens of Derivatives
Traders and Trader-Submitters occurred openly and was pervasive at UBS on certain trading
desks, even involving the participation or knowledge of desk managers and senior managers.’

a. The Fixing of BBA LIBOR, EBF Euribor and JBA Euroyen TIBOR
LIBOR and its Fixing

LIBOR is the most widely used benchmark interest rate throughout the world. LIBOR is
intended to be a barometer to measure strain in money markets and is often a gauge of the
market’s expectation of future central bank interest rates, Approximately $350 trillion of
notional swaps and $10 trillion of loans are indexed to LIBOR. LIBOR also is the basis for
settlement of interest rate futures and options contracts on many of the world’s major futures and
options exchanges, including the one-month and three-month Eurodollar futures contracts on the
Chicago Mercantile Exchange (“CME”), Moreover, LIBOR is fundamentally critical to
financial markets and has an enormously widespread impact on global markets and consumers.

Daily LIBORs are issued on behalf of the British Bankers’ Association (“BBA”)° for ten
currencies, including Yen, Sterling, Euro and Swiss Franc, with fifteen tenors ranging from
overnight through twelve months. According to the BBA, LIBOR “is based on offered inter-
bank deposit rates contributed in accordance with the Instructions to BBA LIBOR Contributor
banks.” The BBA requires that:

 

‘The term “Senior Manager” generally references UBS employees with responsibilities (either

. formally or informally delegated) broader than management of trading desks, although their
responsibilities may have at times included managing trading desks. The term “Senior Manager” does not
include executive managers or the board of directors of UBS.

° The BBA is a United Kingdom trade association for the United Kingdom banking and financial
services sector and is comprised of member banks, The BBA is not regulated.

 
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“fa]n individual BBA LIBOR Contributor Panel Bank will contribute the rate at
which it could borrow funds, were it to do so by asking for and then accepting
inter-bank offers in reasonable market size just prior to [11:00 a.m. London
time].”°

Every business day shortly before 11:00 a.m. London time, the banks on the LIBOR
panels submit their rates to Thomson Reuters. A trimmed averaging process is used to exclude
the top and bottom quartile of rates and then average the remaining rates for each currency and
tenor. That average rate becomes the official BBA daily LIBOR (the “LIBOR fixing”). The
BBA then makes public the daily LIBOR fixing for each currency and tenor, as well as the daily
submissions of each panel bank, through Thomson Reuters and the other data vendors licensed
by the BBA. This information is made available and relied upon by market participants and
others around the world, including in the United States.

Euribor and its Fixing

Euribor is the predominant money market reference interest rate for the Euro currency
and is used internationally in derivatives contracts, including interest rate swaps and futures
contracts.’ At the end of 2011, according to the Bank for International Settlements (“BIS”),
over-the-counter interest rate derivatives in the Euro currency, such as swaps and forward rate
agreements (“FRAs”), comprised contracts worth over $220 trillion in notional value. Euribor is
fixed every business day for fifteen tenors, ranging from one week to twelve months.

Euribor is defined by the European Banking Federation (“EBF”)’ as the rate “at which
Euro interbank term deposits are offered by one prime bank to another prime bank” within the
Economic and Monetary Union of the European Union at 11:00 a.m. Central European Time
(“CET”) daily. According to the EBF instructions, panel banks “must quote the required euro
rates to the best of their knowledge.” The panel banks are to observe the market and base their
submissions on where the Euro is trading in that market.

The daily official fixing of EBF Euribor (“Euribor fixing”) is also calculated based on a
trimmed averaging methodology. On behalf of EBF, Thomson Reuters issues the daily Euribor
fixing and the submissions of each panel bank to its subscribers and other licensed data vendors.
Through these licensing agreements, this information is made available and relied upon by
market participants and others around the world, inchiding in the United States.

 

° This definition of LIBOR has been used by the BBA from 1998 to the present.
7 In October 2011, the CME launched the Euribor Futures contract, which settles based on the three-
month Euribor.

8 The EBF, an unregulated non-profit association of the European banking sector based in Brussels,
Belgium, oversees the publication of Euribor,

 
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Euroyen TIBOR and its Fixing

Euroyen TIBOR is used internationally in derivatives contracts, including interest rate
swaps and futures contracts on exchanges around the world, including the CME’s Euroyen
TIBOR futures contract.” Yen traded in a money market outside of Japan is referred to as
Euroyen. Euroyen TIBOR reflects the prevailing money market rates in the Japan offshore
market, At the end of 2011, according to the BIS, over-the-counter interest rate derivatives in
the Yen currency, such as swaps and FRAs, comprised contracts worth over $66 trillion in
notional value referenced to Yen rates. Euroyen TIBOR is fixed daily for thirteen tenors.

According to the Japanese Bankers Association’s (“JBA”) instructions,!° the contributing
panel banks quote rates where they believe a prime bank would transact in the Japan offshore
market as of 11:00 a.m. Tokyo time. These quotes should not be representative of the banks’
own positions in the marketplace. Further, the rates quoted by reference banks are not intended
for use in trading by the reference banks. The daily fixing of JBA Euroyen TIBOR (“Euroyen
TIBOR fixing”) is also calculated based on the trimmed averaging methodology. Through
licensing agreements, this information is made available and relied upon by market participants
and others around the world, including in the United States.

By their definitions, LIBOR, Euribor and Euroyen TIBOR require that the submitting
panel banks exercise their judgment to determine the rates at which, depending on the
benchmark, they or a prime bank may obtain unsecured funds in the respective London, Euro
and Tokyo interbank markets. These definitions require that submissions relate to funding and
do not permit consideration of factors unrelated to the costs of borrowing unsecured funds, such
as derivatives trading positions or concerns about reputational harm or negative media attention.

b. UBS Used Derivatives Traders to Make UBS’s Submissions

UBS made Trader-Submitters who worked in UBS’s Investment Banking Division
responsible for making all benchmark interest rate submissions that are subject to this Order.
From at least January 2005 through September 2009, Derivatives Traders, who sat on Short
Term Interest Rate (“STIR”) trading desks in Zurich and traded short-term derivatives products,
made submissions for all LIBOR currencies (except U.S. Dollar and Euro), Euribor and Euroyen
TIBOR, The submissions for U.S. Dollar and Euro LIBOR were made by Derivatives Traders
who sat on the U.S. Dollar and Euro desks in the London office of the Rates Division (“Rates”),
The Rates Division consisted of derivatives traders in London, Zurich, Tokyo, Connecticut and
elsewhere, who traded derivatives products with a duration or maturity of more than a year.
UBS’s Derivatives Traders traded LIBOR, Euribor and Euroyen TIBOR-based swaps, FRAs,
and futures contracts. Many of their derivatives contracts settled or reset on International

 

* The CME Euroyen TIBOR futures contract had active trading volumes during the relevant periods

discussed infra. (see pp. 10-37); at present, it has no trading volume.

'0 JBA is an industry banking association and oversees the publication of Euroyen TIBOR.

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Monetary Market (“IMM”) dates, making the benchmark interest rates on these particular dates
especially important.'!

In October 2008, responsibility for U.S. Dollar and Euro LIBOR submissions was
transferred from the London Rates desk to the STIR desk in Zurich. The STIR and Rates desks
were part of the Global Fixed Income, Currency and Commodities Division (“FICC”).

The STIR and Rates desks were profit centers for UBS and generated significant income
for UBS based on trading derivatives products, such as interest rate swaps whose value depended
on LIBOR, Euribor, Euroyen TIBOR and other benchmark interest rates. STIR also managed
UBS’s short-term cash position and engaged in cash trading in the money markets for each
cutrency, primarily through traders located in Connecticut, Zurich and Singapore. STIR was
also responsible for hedging UBS’s interest rate risk.

In September 2009, UBS transferred responsibility for determining all LIBOR
submissions to the Asset and Liability Management (“ALM”) group within FICC, located in
Zurich, In October 2009, ALM also became responsible for Euribor submissions, and in January
2010, for Euroyen TIBOR submissions. ALM was also responsible for determining the size and
price, known as the external issuance levels, at which UBS would issue commercial paper
(“CP”) and certificates of deposit (“CDs”) to fund the bank. ALM did not trade derivatives
products.

Prior to September 2009, ALM provided input at times into the determination of various
benchmark interest rate submissions to the Trader-Submitters and eventually provided the actual
rates to be submitted. After ALM assumed such responsibility, UBS Derivatives Traders on
occasion still made requests for preferential submissions.

c. Conflicts of Interest and Lack of Internal Controls Allowed Misconduct to
Flourish For Years

UBS’s dual role of traders acting as submitters created a conflict of interest that
compromised the integrity of UBS’s submission process, thus establishing an environment ripe
for the Derivatives Traders and Trader-Submitters to abuse. UBS’s Trader-Submitters had an
inherent interest in making submissions that benefited their derivatives trading positions, This
interest conflicted with UBS’s responsibility to make honest and reliable assessments of the costs
of borrowing unsecured funds in the relevant markets, and ensure its benchmark interest rate
submissions were made in accordance with the relevant definitions and criteria. Until August
2008 at the earliest, UBS had no specific internal controls or procedures governing its
benchmark interest rate submissions to manage the con ‘licts of interest and ensure that its
submissions did not take into account impermissible factors, such as UBS’s derivatives trading
positions, UBS provided no training concerning the benc:imark interest rate submission process
or how to manage the inherent conflict between making such submissions and the fact that the
Trader-Submitters were supposed to make money for UBS.

 

'! “IMM dates are standard quarterly settlement dates in March, June, September and December.

 
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Even after conducting a limited review and developing some procedures for its
submission process in the wake of an April 2008 Wall Street Journal (“WSJ”) article critical of
the accuracy of banks’ LIBOR submissions, UBS did not remove the inherent conflict of interest
described above or provide meaningful guidance or any training to the Trader-Submitters.
Rather than strengthening its internal controls and removing the conflict of interest embedded in
the submission process, UBS instead delegated oversight responsibility for the benchmark
interest rate submissions to managers who not only knew that Derivatives Traders arid Trader-
Submitters were engaged in efforts to manipulate the official fixings of LIBOR, Euribor and
Euroyen TIBOR, but who also made their own requests for submissions to benefit their
individual derivatives trading positions. At least certain Derivatives Traders, Trader-Submitters
and managers disregarded the few procedures UBS eventually implemented in August 2008.

UBS’s lack of specific internal controls and procedures and overall lax supervision
concerning its submission processes for benchmark interest rates, allowed this misconduct to
occur across multiple benchmarks and currencies and in several offices around the world. This
environment enabled certain Derivatives Traders to engage in widespread, long-term systematic
misconduct to manipulate Yen LIBOR and, at times, Euroyen TIBOR, alone and in concert with
other banks and interdealer brokers.

d. The Manipulation and False Reporting of Yen LIBOR and Euroyen TIBOR

Over a period of approximately six years, from at least January 2005 through at least June
2010, UBS Derivatives Traders and Trader-Submitters routinely attempted to manipulate the
daily fixings of Yen LIBOR and, at times, Euroyen TIBOR to benefit UBS’s derivatives trading
positions. At times, UBS’s attempts to manipulate Yen LIBOR were successful.

Many UBS Yen Derivatives Traders and managers were involved in the manipulative
conduct and made requests to serve their own trading positions interests. But the volume of
unlawful requests submitted by one particular senior Yen Derivatives Trader in Tokyo (“Senior
Yen Trader”) dwarfed them all.’* The Senior Yen Trader spearheaded a massive effort,
attempting to manipulate the Yen LIBOR fixings, at times nearly daily, and periodically the
Euroyen TIBOR fixings, by making and directing requests to alter UBS’s submissions to benefit
his derivatives trading positions and thereby maximize his profits or minimize his losses.

The Yen Derivatives Traders’ requests, including the Senior Yen Trader’s, typically were
for the one, three, and six-month tenors for Yen LIBOR and Euroyen TIBOR. The Trader-
Submitters on many occasions acquiesced to those requests and made Yen LIBOR and Euroyen
TIBOR submissions with the purpose of benefiting UBS’s derivative trading positions, The
requests were made over UBS’s email or chat networks and additional requests were made orally

 

'2 In fact, some UBS Yen Derivatives Traders made requests at times to Yen LIBOR Trader-Submitters

to adjust their Yen LIBOR submissions to benefit derivatives trading positions long before the Senior Yen
Trader joined UBS. A year before, for example, on November 28, 2005, a Yen Derivatives Trader
referred to her derivatives trading position when she asked a senior Yen LIBOR Trader-Submitter, “re 6m
libor we want higher fixing as we ‘have long 177 bio fra fix today.” The senior Yen LIBOR Trader-
Submitter replied, “ok.” ;

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by traders who sat near to or spoke by telephone with Trader-Submitters, with traders at other
banks or with brokers. In addition, certain Trader-Submitters based submissions at times on his
or her own or the desk’s trading positions, without consulting with anyone else.

The UBS Yen Derivatives Traders making the requests and the Yen LIBOR and Euroyen
TIBOR Trader-Submitters were located in Tokyo and Zurich. Over one dozen Yen Derivatives
Traders and Trader-Submitters were involved, including at least two desk-level managers who
were involved or aware of the conduct, At times, the desk-level managers made requests for
beneficial submissions themselves or facilitated the conduct of the traders and submitters that
they supervised. Moreover, senior managers of UBS above the desk-level managers had —
knowledge of the conduct.

The Yen LIBOR and Euroyen TIBOR Trader-Submitters considered several factors in
making their submissions, but frequently gave weight and priority to the Yen Derivatives
Traders’ requests for specific rates or directional moves to benefit their derivatives trading
positions, The Yen LIBOR Trader-Submitters also took into account their own derivatives
trading positions. At times, to accommodate the Yen Derivatives Traders, the Yen LIBOR and
Euroyen TIBOR Trader-Submitters submitted rates that were one or more basis points in the
direction requested by the Yen Derivatives Traders, or submitted a specific rate depending on the
particulars of the traders’ requests.

The Senior Yen Trader’s Illegal Manipulative Conduct

The Senior Yen Trader conducted his extensive, systematic course of unlawful conduct to
manipulate Yen LIBOR and periodically, Euroyen TIBOR, from shortly after he joined UBS in
early July 2006 until his departure in the fall of 2009, following a dispute with UBS over his
compensation. Indeed, the Senior Yen Trader started making the unlawful requests during his
“probationary” period as a new employee when, pursuant to UBS policy, he was not permitted to
trade except under supervision.

The Senior Yen Trader employed multiple methods in his attempts to manipulate Yen
LIBOR and Euroyen TIBOR. He made internal requests of the UBS Yen LIBOR and Euroyen
TIBOR Trader-Submitters. But, not satisfied with altering UBS’s submissions alone, he went
outside UBS in an effort to influence the submissions of other banks and increase the likelihood
that his attempts would be successful. Thus, he not only coordinated requests with derivatives
traders at several other panel banks, but he also used several interdealer brokers to disseminate
false information about Yen LIROR and Euroyen TIBOR to other panel banks, expecting that
the other banks would rely on that information when they made their own submissions. At
times, he was successful in his efforts to manipulate the official Yen LIBOR fixing for a
particular tenor.

The Senior Yen Trader and others at UBS made approximately 2,000 written requests of
UBS’s Trader-Submitters, traders at other panel banks and interdealer brokers to try to achieve
their manipulative goals, The written requests of the Senior Yen Trader and others occurred on
approximately 570 trading/reporting days, mostly between late 2006 and late 2009, which is
approximately 75% of the time.

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The Senior Yen Trader was widely considered the dominant trader in the Tokyo Yen
swaps market because he traded in enormous volumes and accepted large trading risks. In fact,
his trades were so large and aggressive, he reputedly contributed substantially to developing the
Yen Swaps market into a robust derivatives market. Historically, the Yen swaps market was
relatively stable. From 2000 to 2006, Yen LIBOR rates remained relatively flat, evidencing
minimal fluctuations up or down. Given the lack of volatility in the Yen markets, there were
fewer traders who focused exclusively on Yen products, and, therefore, less liquidity for traders
interested in such products. All of this changed when UBS hired the Senior Yen Trader and
permitted him to take large positions in the Yen market. His trades immediately injected
significant liquidity in a previously illiquid market. Not surprisingly, brokers were eager to
develop relationships with the Senior Yen Trader in an effort to obtain a piece of his business.

UBS highly valued the Senior Yen Trader because his trading generated nearly $260
million in revenue for UBS. Each year, he increased the revenue he reaped compared to the year
before. In 2007, he generated approximately $40 million; in 2008, he generated approximately
$80 million, and in 2009, before he stopped trading for UBS in late summer, he generated
approximately $116 million, about three times what he generated in 2007. At the height of his
trading at UBS, the Senior Yen Trader was given a risk limit of $2 million to $3 million per basis
point. While concerns were raised at times within UBS about the amount of risk that the Senior
Yen Trader was taking in the market, UBS never curtailed his trading or lowered his risk limits
until near the end of his employment when he was cautioned to reduce the risk in his positions.

Internal Requests to Adjust Submissions

The Senior Yen Trader regularly made internal requests, either directly or through other
traders and his manager at UBS, to the Yen LIBOR and, periodically, Euroyen TIBOR Trader-
Submitters for adjustments in the UBS submissions that benefitted the Senior Yen Trader.

Multiple UBS traders and submitters, including the Senior Yen Trader’s supervisor (“Yen
Desk Manager”), were aware of the Senior Yen Trader’s attempts to manipulate Yen LIBOR and
Euroyen TIBOR through his internal requests to the submitters. UBS managers in Tokyo and
Zurich also were aware of the Senior Yen Trader’s requests. The UBS managers allowed the
Senior Yen Trader to engage in his conduct, which ended only when he decided to leave UBS
over a pay dispute. No one involved in or aware of the misconduct reported it as wrongful to
more senior management, or to UBS’s compliance or legal departments. On the contrary, some
of these individuals, including the Yen Desk Manager in Tokyo, engaged in the same misconduct
by making their own requests to UBS’s Trader-Submitters for the manipulation of Yen LIBOR
and Euroyen TIBOR, or facilitating the Senior Yen Trader’s requests.

The Senior Yen Trader, directly or indirectly, made at least 800 requests in writing, on
UBS’s email and chat systems, to the Trader-Submitters for adjustments to UBS’s Yen LIBOR
submissions, usually focused around the one, three and six-month tenors. The Senior Yen
Trader and others on his behalf also made similar requests for adjustments to the Euroyen
TIBOR Trader-Submitters to benefit his trading positions, albeit on a significantly smaller scale.
Sometimes, the Senior Yen Trader made requests to benefit the trading positions of other UBS

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Yen Derivatives Traders on the desk, if it happened that Yen LIBOR or Euroyen TIBOR fixings
would not impact his own positions.

In making requests, the Senior Yen Trader at times identified the tenor and/or direction
for which he sought assistance, using terms such as “low 1m” (indicating that he wanted a low
submission for the Yen LIBOR one-month tenor submission), “high 3m” (for the three-month
Yen LIBOR submission) or “unchanged.” Often, the Senior Yen Trader’s requests focused on
key benchmark rate fixing dates for his swap transactions around the IMM dates (quarterly
settlement dates in March, June, September and December) or the turn of the calendar year. The
requests were so common that the Senior Yen Trader sometimes merely asked for the “usual axe
on libors,” meaning his typical requests. Certain Trader-Submitters also understood that the
Senior Yen Trader had a “standing order,” meaning the Senior Yen Trader had a preference for a
higher or lower submission and that this preference remained in operation for a period of several
days. Moreover, the Trader-Submitters sometimes initiated contact with the Senior Yen Trader
to see if he needed any adjustments made to the Yen LIBOR submissions.

The Trader-Submitters regularly accommodated the Senior Yen Trader’s requests. In
fact, one Yen Trader-Submitter indicated that he would at times adjust his submissions by up to
several basis points to accommodate the requests of the Senior Yen Trader. The requests and
accommodations occurred on a regular basis even after UBS had received the CFTC Division of
Enforcement’s demand in October 2008 for information and documents relating to UBS’s U.S.
Dollar LIBOR practices,

The following are a few typical examples of the Senior Yen Trader or other Derivatives
Traders, including the Yen Desk Manager, asking in electronic chat rooms for submissions and
the Trader-Submitters readily acquiescing, including an early request made soon after the Senior
Yen Trader began to trade for UBS:

November 14, 2006: (Emphasis added.)!?
Senior Yen Trader: “hi... who sets our libors?”
Senior Yen Trader-Submitter: “me (or the guy in zurich) we use the cash to
derive them”
Senior Yen Trader: “ok cld really do w 6m up pls if poss ...”
Senior Yen Trader-Submitter: “we been on the high side for aw hile”
Senior Yen Trader: “or on the fair side”
Senior Yen Trader-Submitter: “fair side .. exactly my thoughts but will give it
an extra notch today”
Senior Yen Trader: “cheers most of my fixing roll off on friday for 4 days or so
thanks for that”
Senior Yen Trader-Submitter: “no prob”

 

 

°° The communications quoted in this Order contain shorthand trader language and many typographical

errors. The shorthand and errors are explained in brackets within the quotations only when deemed
necessary to assist with understanding the discussion.

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December 5, 2006: (Emphasis added.)
Senior Yen Trader: “tibors still low the question is which will move first cash or
futures?’
Senior Yen Trader-Submitter: “yes, trying to push those up a bit without
affecting libors but not sure it'll work re what's first - thought about it y'day after
u brought it up...think odds are for fixings to move cause it's them being wrong”
Senior Yen Trader: “yes have lots of Im fixes up till imm so am trying to hold
1m down!”
Senior Yen Trader-Submitter: “we not touching Imos tibor 1mos libor we keep
lower and try to up 2mos tib & out...”
Senior Yen Trader: “thanks for that”

February 8, 2007:
Senior Yen Trader: “hi [Senior Yen Trader-Submitter] could really do with a low
1m over the next few days as have 17.5m fixings if ok with you?”
Senior Yen Trader-Submitter: “np”
Senior Yen Trader: “thx guess you'll be trying to get 3m down for I/t [i.e.,
libor/tibor] as well?”
Senior Yen Trader-Submitter: “unless u specicy otherwise i will have 1 and
3mos low.”
Senior Yen Trader: “yes am all out of 3m but am long 1I/t like you so suits both

of us.”

March 16, 2007:
Senior Yen Trader: “strange request i know but can we go for a high 6m fix but a
low 7m fix pls” ,
Senior Yen Trader-Submitter: “7mos .,.. sep turn ?”
Senior Yen Trader: “have a big interp fix today between 6m and 7m offset by
straight 6m”
Senior Yen Trader-Submitter: “but can be done”
Senior Yen Trader: “if suits, assume you don't have a 7m fix? :)”
Senior Yen Trader-Submitter: “:-)”

February 4, 2008:
Yen Trader 1: “Hi... My name is [Yen Trader 1] and I work with [Senior Yen
Trader] in Tokyo. [Senior Yen Trader] (in Sydney) asked me to ask you, if it is
possible that you could kindly set mL and 3mL higher.”

December 24, 2008:
Yen Trader 2: “Can we pls go for lower Libors tonight, across all tenors (1 m 3m
and 6m) much appreciated”
Yen Trader-Submitter 1: “Will do”

July 24, 2009:

Senior Yen Trader: “{Senior Yen Trader-Submitter] talking again about lowering
3m tibor please can you head it off ... is that sorted ...?”

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Yen Desk Manager: “yep.”
Senior Yen Trader: “thx”

Yen Desk Manager: “all ol on the fix?”
Senior Yen Trader: “y”

The Senior Yen Trader sometimes emphasized to the Trader-Submitters when one of his
requests was particularly important, such as by saying he had a “big fix” or even a “massive fix.”
At times, the Senior Yen Trader was more specific, quantifying the potential benefit to the
Derivatives Traders’ position: “have 385b 6m fix today, so really need it low... half a point is
10m jpy!” As the Senior Yen Trader once exclaimed to the Senior Yen Trader-Submitter: “I live
and die by these libors, even dream about them.” (Emphasis added).

Reconciliation of Conflicting Internal Trading Positions .

To ensure that the Trader-Submitters implemented his requests, the Senior Yen Trader
was careful not to cause a conflict with the Trader-Submitters’ trading positions. At times, the
Senior Yen Trader asked the Trader-Submitters whether his request would help or hurt the
latter’s derivative positions. For example, in the following chat, the Senior Yen Trader’s request
served both of their interests:

January 31,2007: (Emphasis added.) :
Senior Yen Trader-Submitter: “...as we move into February, we'll struggle a bit
on keeping the 3mos fixings high we need t/l back into +ve area well positive”
Senior Yen Trader: “sure i have my last big 3m fix on feb 6th is that ok? can we
last till then?”

Senior Yen Trader-Submitter: “that's fine...no prob keeping it up till then”
Senior Yen Trader: “after that am mixed on 3m need 6m high tho, are you
worried about 6m 1/t?”

Senior Yen Trader-Submitter: “not at this stage”

Senior Yen Trader: “ok i am v long 3m I/t too so suits”

Senior Yen Trader-Submitter: “one happy family then :-)”

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However, sometimes the Trader-Submitters’ own derivatives positions stood to suffer if
they accommodated the Senior Yen Trader’s request. To manage that problem and make sure
his preferred submissions were made, the Senior Yen Trader would enter into a separate
transaction with the Trader-Submitter that would help offset any negative impact on the Trader-

Submitter’s position from a submission that was made to benefit the Senior Yen Trader’s

position, Such a solution was the subject of the following chats:

November 17, 2006: (Emphasis added.)
Senior Yen Trader: “thx for libor y/day i have 25m of fixes in 6m the next few
days so any help gratefully received, if you are the other way round at all let

me know and we can try to do what we did y/day which worked out well for
both of us!”

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Senior Yen Trader-Submitter: “mrng mate it did work indeed your man for
the next few days is [Yen Trader-Submitter 2] the guy coming from Zurich to
cover while i'm on leave will pass it on re fixings”

Senior Yen Trader: “thanks for that”

Senior Yen Trader-Submitter: “good chance we're same way round on most
days”

Senior Yen Trader: “yes i seem to be long 6m libor till next thursday then i'm.
quite clean thereafter”

Senior Yen Trader-Submitter: “noted”

February 23, 2007: (Emphasis added.)
Senior Yen Trader: “hi do you have any 6m fixes today? if not can we set low
today pls along with 1m and 3m!”
Senior Yen Trader- Submitter: “think i got some fixings, actually let me check
which way round they r i'm long a 6m fra 50 yds ntg 3s”
Senior Yen Trader: “ok where do you see 6m today unch? ie you need 6m
high?”
Senior Yen Trader-Submitter: “a higher fixing gwould suit me let's see if i can
sell it in mkt today ...”
Senior Yen Trader: “which wd be your mid”
Senior Yen Trader- Submitter: “seeing it L +0.5 from y'day so .70125 for today
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Senior Yen Trader: “if i can get the .7 bid i'll deal then write a tck with you at
.70125? 50b?”
Senior Yen Trader- Submitter: “50 yds. ... dun worry abt the 0.125”
Senior Yen Trader: “no appreciate the help so happy to write it there...”
Senior Yen Trader-Submitter: “FRA or SPS [single period swap]?”
Senior Yen Trader: “whatever suits”
Senior Yen Trader- Submitter: “FRA then pls i'll send the ticket”
Senior Yen Trader: “ta”
Senior Yen Trader- Submitter: “tnx ... low fixing it is then low 1,3,6 mos”
Senior Yen Trader: “ta”

The Senior Yen Trader-Submitter’s Knowledge that the Conduct Was Improper

From the outset, the Senior Yen Trader-Submitter knew that requests to alter Yen LIBOR
or Euroyen TIBOR were inappropriate and could impact the ultimate Yen LIBOR and Euroyen
TIBOR fixings. Shortly after the Senior Yen Trader joined UBS in the last quarter of 2006 and
started making his requests, the Senior Yen Trader-Submitter recognized that his submissions on
behalf of the Senior Yen Trader were false and would be difficult to justify or explain, absent the
influence of the Senior Yen Trader.

November 8, 2006:

Senior Yen Trader: “have put some pressure on a few people i know to get libors
up today, mailnly 6m as i am paid that one, let me know if that doesn't suit or if

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there are any particularly you need up. ... only did a few lyr trades, wish i'd done
a lot more now!”

Senior Yen Trader-Submitter: “thanks mate...wouldnt mind fixings all backup
but not due to positions, rather to get things back in line with reality there shud be
an obligation to deal on those fixings”

Senior Yen Trader: “yes that will be the day!”

February 27, 2007: (Emphasis added.)
Senior Yen Trader: “hi ... can we go low 1m and 3m again pls”
Senior Yen Trader-Submitter: “we'll try...but there's a limit on to how much
[w]e can shade it i.e. we still have to be within an explainable range”

March 29, 2007: (Emphasis added.)
Senior Yen Trader: “hi ... can we go low 3m and 6m pls? 3m esp.”
Senior Yen Trader-Submitter: “ol”
Senior Yen Trader: “,.. FYI [Yen Banks A, B, C, D] are setting .66 and [Yen
Bank E] .67 what are we going to set? got tols cash was 64/62 in 3m?”
Senior Yen Trader-Submitter: “too early to say yet ... prob .69 would be our
unbiased contribution”
Senior Yen Trader: “ok wd really help if we cld keep 3m low pls”
Senior Yen Trader-Submitter: “think [Yen Bank D] paying .6675 / [Yen Bank B]
66.25 bid out there as i said before - i dun mind helping on your fixings, but i'm
not setting libor 7bp away from the truth i'll get ubs banned if i do that, no
interest in that”
Senior Yen Trader: “ok obviousl;y no int in that happening either not asking for
it to be 7bp from reality anyway any help appreciated”

On one occasion, the Senior Yen Trader-Submitter even commented to the Senior Yen
Trader about feeling sorry for those traders whose trades are based on “‘fair’ fixings.”

UBS’s Collusion with Other Banks and Interdealer Brokers

The Senior Yen Trader augmented his internal efforts to manipulate Yen LIBOR and, on
occasion, Euroyen TIBOR for multiple tenors by coordinating with derivative traders at other
panel banks and by using interdealer brokers who intermediated Yen transactions to influence,
directly or indirectly, submitters at other panel banks. Thus, the Senior Yen Trader wanted to

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better exploit the averaging methodology used to calculate fixings by increasing the likelihood

that more than one corrupted submission would be included in, or could impact, the official daily
fixing of Yen LIBOR and Euroyen TIBOR.

Collusion with Other Panel Banks
As with his internal requests, the Senior Yen Trader began coordinating regularly with

derivatives traders at other panel banks by January 2007. The Senior Yen Trader coordinated
with traders primarily at four panel banks whom he knew or had worked with previously. The

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Senior Yen Trader, or others acting on his behalf, made about 100 requests of traders at the other
panel banks.

The Senior Yen Trader generally made requests of the other banks’ traders, who regularly
agreed to pass his requests to their Yen LIBOR or, on occasion, Euroyen TIBOR submitters.
The Senior Yen Trader also made requests directly of the submitter of at least one bank. The
other traders often conveyed success with comments such as, “done” and “we normally do well
for ul!!!”

For their own manipulative purposes of benefiting their derivatives trading positions,
certain of the derivatives traders at the other banks sought reciprocating assistance from the
Senior Yen Trader to make requests on their behalf to UBS’s submitters. The Senior Yen Trader
readily agreed to help the other traders. In fact, he often encouraged them to ask for help as a
way to curry favor and ensure his requests were accommodated,

The following small sampling of the numerous communications between the Senior Yen
Trader and derivatives traders at the other panel banks reveal:

o descriptions of the Senior Yen trader’s strategy and his success in keeping rates
“artificially high;”

o how, as with the internal requests, the Senior Yen Trader pressed traders at the
other banks for assistance particularly on key fixing dates around the IMM dates
or the turn of the calendar year;

o how routine the requests were and how the traders believed that LIBOR was
vulnerable to manipulation at their whim and for their benefit;

o that the requests covered a number of days of LIBOR submissions at times, such
that one request could result in multiple days of false LIBOR submissions
potentially affecting the fixing for the same period; -

© the pressure the Senior Yen Trader felt to keep making money for UBS; and
o that the traders believed that they succeeded at times.

January 19, 2007: (Emphasis added.)
Senior Yen Trader: “hi [...], bit cheeky but if you know who sets your libors
and you aren't the other way I have some absolutely massive 3m fixes the next
few days and would really appreciate a high 3m fix, [Yen Bank C] were one of
the lowest y/day at 51. Anytime i can return the favour let me know as the
guys here are pretty accomodating to me...”
Yen Bank C Trader: “I will try my best, but really fed up with my guys, wanted a
high 6m yesterday, but came in really low (our guys one of the main culprits) -
got quite badly hit on that.”
Senior Yen Trader: “you and me both, you need 6m high? if so will get my
guys to set high for you today, yesterday they set 3m up at 57 for me!”

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Yen Bank C Trader: “got nothing significant for next 7 days - so will try to get
high for you - just really gutted about yesterday cost me a lot.”

February 2, 2007: (Emphasis added.)
Senior Yen Trader: “if not the spread may fix round 15 at the worst, but 3m
libor is too high cause i have kept it artificially high”
Yen Bank B Trader 1: “how?”
Senior Yen Trader: “being mates with the cash desks, [Yen Bank C] and i
always help each other out too”
Yen Bank B Trader 1: “ok thats useful to know so i assume come 1s4s it will be
soft”
Senior Yen Trader: “well i am long libor in 1v4m so will try to keep high then
but basically is Lbp too high right now adn come may i'll get it 1 bp too low net
net a 2bp swing in the fix”
Yen Bank B Trader 1: “good man”

February 15, 2007: (Emphasis added.)
Yen Bank B Trader 1: “u heard where this 1 mth libor is being called”
Senior Yen Trader: “yes doing everthing i can to keep it low aiming for .47 fix or
better ... i have lost about Im usd in the Jast 3m on crap 1m fixes will try too
keep low”
Yen Bank B Trader I: “me too but our cash guy is not here today so [Yen Bank
B Submitter] will be putting them in and he wants a high 3s...”
Senior Yen Trader: “GREAT !!! what about 1m? can you ask him to keep
that really low? wd really help me”
Yen Bank B Trader 1: “i did but he will put it wherever suits his and [Yen
Bank B Trader 2]’s book and i think they have paid all these spreads !! ... how
many people can u get to put this 1m libor low”
Senior Yen Trader: “well us [Yen Bank C] and a few others i think”

April 20, 2007: (Emphasis added.)
Senior Yen Trader: “i know i only talk to you when i need something but if
you could ask your guys to keep 3m low wd be massive help as long as it
doesn't interfere with your stuff tx in advance ... mate did you manage to spk
to your cash boys?”
Yen Bank B Trader 1: “yes u owe me they are going 65 and 71”

° : *
Senior Van Trader: “hy mate vacidon in fact i awe van his timo mater thav
LI WALES a Wik LAUNIWL, VAASR AL aut awe uy BEAM RSEWE A UTT J wR Mh hey PERRRY RAACLEWA donated A

set 64! thats beyond the call of duty!”

June 29, 2007: (Emphasis added.)
Yen Bank B Trader 1: “yeah sorry the usual guy is not here at the moment the
trainee is doing it we normally do well for u !!!”
Senior Yen Trader: “no worries mate, if you could go high from monday for
next week that wld be graet as i have 1.5t notional fixings in 6m next week!
ie 75m jpy a point”
Yen Bank B Trader 1: “wow ok then”

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November 1, 2007: (Emphasis added.)
Senior Yen Trader: “hello mate, real big favour to ask. could you try for low 6m
fix today pls wld be most appreciated. thx mate”
Yen Bank B Trader 1: “will try my best dude hows u ??”
Senior Yen Trader: “ok, trading like an idiot today, to be honest just want to take
some risk off my book before i come back in dec, have had ok year but
management still pushing me for more, have huge 6m fix so if you could help
out today would really really really appreciate it! how are you?”

September 18, 2008: (Emphasis added.)
Senior Yen Trader: “you got any ax on 6m fix tonight?”
Yen Bank F Trader-Submitter: “absoluetly none but i can help”
Senior Yen Trader: “can you set low as a favour for me?”
Yen Bank F Trader-Submitter: “done”
Senior Yen Trader: “i'll return favour when i can just ask have 75m m jpy a
bp tonight”
Yen Bank F Trader-Submitter: “np”
Senior Yen Trader: “thanks so much”

Coordination with Interdealer Brokers to Manipulate Yen LIBOR

From the outset of his employment with UBS, the Senior Yen Trader also coordinated on
almost a daily basis with several interdealer brokers employed by at least five different brokerage
firms to try to impact the Yen LIBOR and, on occasion, Euroyen TIBOR submissions of other
panel banks, The Senior Yen Trader asked the interdealer brokers to utilize various means of
influencing the other panel banks, including by asking the brokers to: (i) disseminate false “run-
throughs” of suggested Yen LIBORs to many, if not all, of the panel banks; (ii) contact directly
other bank submitters; (iii) publish false market cash rates over certain dedicated electronic
screens available to clients; and (iv) “spoof” or make fake bids and offers. As set forth below, in
exchange for their help, the Senior Yen Trader saw to it that the brokers were compensated in
various ways such as by directing to brokers commission-generating business including “wash
trades,” and even by having UBS structure fees to carve out cash bonuses for brokers. He also
kept them in line by sometimes threatening to move his considerable volume of business to
another broker. During this period of late 2006 to late 2009, the Senior Yen Trader made
approximately 1,200 such requests to brokers.

Interdealer brokers, sometimes known as voice brokers, act as intermediaries between
buyers and sellers in the money markets and derivatives markets. The brokers match buyers and
sellers in return for commissions, and also can be an important source of market information for
banks, Typically, commissions are based on a percentage of the notional value of consummated
transactions, which means that brokers get paid more by brokering larger trades. Within a
brokerage firm, there are brokers for different currencies who intermediate derivatives
transactions (“Derivatives Brokers”) and brokers who intermediate cash transactions (“Cash
Brokers”). In order to find matching counterparties, brokers provide bid or offer prices for a
financial transaction. Those prices are conveyed in multiple ways. Brokers use “squawk boxes,”

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which are speakerphones that can speak simultaneously to numerous trading desks of their bank
clients at once, to broadly disseminate bid and offer prices. Brokers also frequently use
Bloomberg instant message chats and other messaging platforms, email, and dedicated telephone
lines.

Interdealer brokers provide bank traders their views on pricing and market trends, known
as “market color,” and the banks rely on brokers for such information. For example, some
brokers circulate each morning daily “run-throughs” of the actual rates they expect to be
published for key benchmark interest rates that day, such as LIBOR in various currencies and
tenors, Some also share such information directly with benchmark interest rate submitters by
telephone.

Through the brokers, the Senior Yen Trader was able 'to influence potentially all of the
other fifteen banks on the Yen LIBOR panel. Even unwitting submitters at panel banks that tried
to make benchmark interest rate submissions that reflected their honest assessment of the costs of
borrowing funds may have had their submissions improperly influenced because they relied upon
the brokers’ purported unbiased market information. Reflective of the importance of the brokers
in his scheme, the Senior Yen Trader heralded certain of the brokers with such laudatory terms
as “Hero” and “SUPERMAN.”

Generally, the Senior Yen Trader contacted Derivatives Brokers with unlawful requests
for beneficial rates, who would then convey the requests to and pressure their Cash Broker
colleagues to implement the Senior Yen Trader’s requests by going to other panel banks,"
Because this was such a standard practice and the brokers were eager to retain UBS’s business,
the brokers anticipated or even solicited the Senior Yen Trader’s requests at times.

The following are examples of typical communications between the Senior Yen Trader
and the brokers, indicating how Derivatives Brokers pressured Cash Brokers to make sure the
wishes of the Senior Yen Trader were met, that the Senior Yen Trader often wanted the requests ~
to stay in place over a number of days or weeks, and that the Senior Yen Trader recognized when
the brokers had accommodated him.

September 10, 2007: (Emphasis added.)
Senior Yen Trader: “once again thx libors”
Derivatives Broker Al: “no problem just starting to worry about how i am going
to push them lower next week!!”
Senior Yen Trader: “no just leave em high need high at start of oct”
Derivatives Broker Al: “ok mate”
Senior Yen Trader: “then we can make a push for lower fixes”
Derivatives Broker Al: “gotcha ...just give me a ‘wish list’ at the start of each
day and i will compose a beeging letter to [Cash Broker A] after lunch.”

 

‘4 At one such brokerage firm, the Derivatives Broker was also the Cash Broker.

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Senior Yen Trader: “ok thx mate.one thing which i don't think you can do is push
them one then the other way need to be consistent ie alll lower every day or vice
versa”

Derivatives Broker Al: “no smalls maybe but you are better looking at the bigger
picture and basing your requests on the macro outlook rather than the micro yrs

May 29, 2008: (Emphasis added.)
Derivatives Broker Al: “if [Senior Yen Trader-Submitter] his marking his 0/6's
there you are going to have to work hard on his libor sets......if [Cash Broker A] is
doing his best to get them low and your own bank fixes high!”
Senior Yen Trader: “i knoww mate we are holding 6m but bring 3m down”
Derivatives Broker Al: “...[Cash Broker A] has knocked 3m down small
(already v low and says if it goes any further he will lose credibility) and 6m
down another 1/2bp”

February 9, 2009: (Emphasis added.)
Senior Yen Trader: “do you know your cash desk? ie the guy who covers yen on
your cash desk”
Derivatives Broker C/D 1:'° “yes mate i do”
Senior Yen Trader: “right from now on I need you to ask him a favour on the
fixes i will make sure it comes back to you i alrteady do it with [Brokerage
A] basically can you ask him to broke 3m cash ie libor lower for me today i will
look after you off the back of it i do that for [Brokerage B] too so emphasise
the importance to you just suggest it looks a little softer to his accounts”
Derivatives Broker C/D 1: “ok mate I understand i will go and speak to him”
Senior Yen Trader: “stuff like that thanks mate is very important to me today”
Derivatives Broker C/D 1: “just spoke to them and they are on the case”
Senior Yen Trader: “ok mate much appreciated if we do this going forwards
it will come back to you in spades did you emphasise the importance?”
Derivatives Broker C/D 1: “i did”
Senior Yen Trader: “ta”

Using False “Run-Throughs” of Predicted Yen LIBORs

The Senior Yen Trader repeatedly had at least one broker distribute false Yen LIBOR
predictions that were skewed to benefit the Senior Yen Trader’s derivatives trading positions by

 

'S To avoid detection, the Senior Yen Trader and at least one broker used code words at times. But

undermining their efforts to conceal, they blatantly discussed the need to use code words in electronic
chats. In late 2007, Brokerage A told the Senior Yen Trader that they both needed to “be a little more
subtle in [their] views” and his emails “needed to be worded more carefully.” The Senior Yen Trader and
Derivatives Broker Al decided to use code words to mask the requests by using words such as “political
correctness,” “arbitrage,” “arb,” or “arbi.” Despite the agreed-upon code words, as evidenced above, for
the most part the UBS Senior Yen Trader spoke plainly about his desire to manipulate rates.

'° During the course of the Senior Yen Trader’s employment at UBS, Derivatives Broker C/D 1 moved
from Brokerage C to Brokerage D, where he continued to broker the Senior Yen Trader’s transactions and
assist him in his manipulative schemes. —

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means of lists known as “run-throughs” that brokers would send to numerous, if not all, of the
Yen LIBOR panel banks. As a service, cash brokers at the brokerage firms disseminated daily
run-throughs to inform the banks of trading ranges observed by brokers for certain types of Yen
transactions over the prior 24 hours as well as Yen LIBOR fixings anticipated or “suggested” by
the brokers. These broker predictions became increasingly influential during the financial crisis
that commenced in August 2007, as discussed infra, when the number of observable interbank
transactions diminished. At least several panel banks relied on the run-throughs for making their
Yen LIBOR submissions and, at times, some banks simply submitted the very rates suggested by
the brokers. The Senior Yen Trader knew that panel bank submitters frequently used broker-
suggested rates in making their own Yen LIBOR submissions.

To exploit the run-through process to his advantage, the Senior Yen Trader regularly
asked that Brokerage A’s run-throughs reflect “suggested rates” that would benefit the Senior
Yen Trader’s position. He communicated with Derivatives Broker Al, who then conveyed the
request to Cash Broker A, intending for the rest of the panel banks to follow Cash Broker A’s
suggestions, Derivatives Broker Al typically confirmed back that he had sent the request on to
Cash Broker A. The Derivatives Broker Al often made such comments as:

o “i’ll get [Cash Broker A] to send what we need and we will just have to hope they
follow his lead;”

o “yes he knows what we need need..thats where he reckons they will come in
though even with his massaging;” and

o “{Cash Broker A] sending out higher than he thinks so hopefully the sheep will
just copy.” (Emphasis added.)

The Senior Yen Trader frequently succeeded in getting Brokerage A to send false LIBOR
predictions, and sometimes even to change already distributed run-throughs to his advantage.
For example, on June 28, 2007, Cash Broker A had already sent his daily run-throughs with six-
month Yen LIBOR “suggested” at a rate of 0.86. Derivatives Broker Al pressured Brokerage A
management to have the run-throughs re-sent with a higher six-month rate, 0,865, that was more
skewed toward the Senior Yen Trader, along with the added instruction that Cash Broker A “‘get
his banks setting high.” Derivatives Broker Al emphasized that “[Senior Yen Trader] is not
happy.” Cash Broker A dutifully re-sent his “suggested Libors” with six-month Yen LIBOR set
at 0.865, as demanded.

In another similar example, on September 4, 2007, the Senior Yen Trader and Derivatives
Broker ‘Trader Al discussed the need to send a revised “run-through,” which Brokerage A
management accommodated:

Derivatives Broker Al: “[Cash Broker A’s] libors 1m 81...3m unchanged (though
he says the yen bids are still very high for $)...6mos unchanged you ought to be
able to help yourself in 3mos, [Senior Yen Trader-Submitter] moved down from
99 to 96 yetserday and in 6mos if you want that higher...”

Senior Yen Trader: "...can we try to get 6m up today pls mate”

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Derivatives Broker Al: “think flat will be the best looking at the cash rates but
will ask [Cash Broker A] to send out another run higher”

Senior Yen Trader: “thx.”

(Emphasis added.)

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Derivatives Broker Al: “try and get [Cash Broker A] to send out a revised libor
run with 3m and 6m higher please ....”

Brokerage A Yen Manager: “will do...on the back of his revised libors, sent at
your request but he thinks it might be nearer 107 than 106”

(Emphasis added.)

In statements made to the Senior Yen Trader, Derivatives Broker Al often claimed
success in getting panel banks to contribute advantageous submissions to the Yen LIBOR panel:

o “,,,[{Cash Broker A] has been doing a number on some of the contributors
because a couple of them were edging their libors slightly lower yesterday before
he intervened;”

o “morning mate...seems [Cash Broker A’s] cover does have some influence,
people actually took notice of his 87 libor! will be back on his case again today;”

o “i hope that 6m libor has got me back in your good books!! used all my powers
of persuasion on that one;-) .. think [Yen Banks G and H] must have looked at
[Cash Broker A’s] first suggestion....they both moved up 11bps to 1.10;” and

o “you have a really big fix tonight i believe? if [Cash Broker A] sends out 6m at a
more realistic level than 1.10 i reckon [Yen Banks G and H] will parrot him, it
might mean 6m coming down a bit.”

Using Interdealer Brokers to Help Pressure Other Banks

The Senior Yen Trader routinely requested that the brokers use their bank relationships to
help pressure banks to make submissions in his favor. Set forth below are examples of
communications within brokers or between brokers and the Senior Yen Trader concerning their
respective efforts with specific banks. The discussions reveal how the Senior Yen Trader and the
brokers worked together as a team to ensure that he got the rates he wanted.

September 4, 2007: :
Derivatives Broker Al: “hi mate,see you dropped your 3m and 6m libors
yesterday making you one of the lowest fixers!!”
Senior Yen Trader: “...ok i'l] have a word on 3m they are getting pressure from
above”
Derivatives Broker Al: “...you are just about the lowest now”
Senior Yen Trader: “yes i know....[Yen Bank B] shifted down S5bp too will ask
[Yen Bank B Trader 1] if he can do me a favour with a high fix”
Derivatives Broker Al: “ok i'll see if [Yen Bank B Submitter] is doing libors at
the mom,he never seems too bothered...though not sure he is”
Senior Yen Trader: “thx” ,

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November 1, 2007: (Derivatives Broker Al to Brokerage A Yen Manager)
Derivatives Broker Al: “[Senior Yen Trader] WOULD LIKE YOU TO ASK
[Yen Bank B Submitter] (Yen Bank B) IF HE'S NOT FUSSED TO TRY AND
KNOCK HIS LIBOR A BIT LOWER. HE HAS SOLD A LOAD OF LY WITH
ME TODAY AND HE HAS A LOT OF FIXE S COMING UP. THANKS.”

February 26, 2009: (Emphasis added.)
Senior Yen Trader: “right mate i really need 2 things 1 low 3m 2 high 6m i
know 1m goes over turn but try to keep that down too pls high 6m is v v v
important”
Derivatives Broker B1: “high 6s ok mate let me bid that up and ill have another
word i did get couple people to change em in 3s yesterday but that tossser ay
[Yen Bank I] put em up im sure he did such an a holen he is.”

March 19, 2009: (Emphasis added.)
Senior Yen Trader: “need low everything pls try really hard to get [Yen Bank J]
down”
Derivatives Broker B1: “ok did he put them down yesterday ?”
Senior Yen Trader: “nah same”
Derivatives Broker B1: “ok”
Senior Yen Trader: “[Yen Bank I] too for 3m the people are [Yen Bank I] at 63
[Yen Bank J] 62 [Yen Bank H] 62 [Yen Bank B] 62 [Yen Bank K] 63 he def
should be lower [Yen Bank A] 62 [Yen Bank G] 63 all those we can get down |
to 60 or 61...”
Senior Yen Trader: “ok try for [Yen Panel Bank J] and the Japanese [panel
banks] and [Yen Bank I] as priority pls”
Derivatives Broker B1: “kkk”
Senior Yen Trader: “”thx...pls push really hard.”
Derivatives Broker B1: “yes already had a word witha couple of them
[Yen Bank J] n [Yen Bank B] said they should be lower workin on [Yen Bank A]
n [Yen Bank Kk)”
Senior Yen Trader: “ta.”

March 23, 2009: (Sent as a blind message simultaneously to Derivatives Broker B1 and
Derivatives Broker C/D 1.)
Senior Yen Trader: “Hi need LOW 3m and Im HIGH 6M, 3m is most important
[Yen Bank A] and [Yen Bank K] both setting 62 they should be lower [Yen Bank
A] is setting lower in 3m tibor [Yen Banks I, H and G] both at 62 , they can go
to 61? For 6m push for higher thanks”

March 31, 2009: '
Senior Yen Trader: “mate we have to get 1m and 3m down 1m barely fell
yesterday real important”
Derivatives Broker C/D 1: “yeah ok”

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Senior Yen Trader: “banks to have a go win lmare [Yen Banks A, I, D, H, L,
C, B, K and G] pls”
Derivatives Broker C/D 1: “got it mate”

Publishing False Market Rates to Panel Banks on Broker Screens

The Senior Yen Trader asked certain brokers to falsify the purported prevailing market
rates that brokers displayed on electronic screens made available to clients, such as the panel
banks. The screens were intended to show prices of actual cash or derivatives trades, which
panel banks then could take into consideration in determining Yen LIBOR submissions. The
Senior Yen Trader wanted brokers to report false prices on the screens in an effort to skew other
banks’ Yen LIBOR submissions. Because these screens were available to several, if not all, of
the panel bank members and the submitters used this information at times in determining
submissions, dissemination of false market rates had the potential of improperly influencing
many of the Yen LIBOR submissions on any given day.

Below are examples of Derivatives Broker Al and the Senior Yen Trader discussing how
Derivatives Broker Al would falsify the screen rates to assist the Senior Yen Trader’s fraudulent
influence on other panel bank submissions:

September 15, 2008: (Emphasis added.)
Senior Yen Trader: “hi mate iam going to be super busy, can you do mea
favour and keep the lyr screen as low as reasonably possible...libors were
good.”
Derivatives Broker Al: “Ok MATE NO WORRIES WILL DO ALL I
CAN....SAW THE LIBORS, GOOD NEWS”

June 3, 2009: (Emphasis added.)
Senior Yen Trader: “can you get the swasp [swaps] on the screen all lower
ly18m2y3y...”
Derivatives Broker Al: “...will move the screen as the futures open , you lioke
low everything?”

“Spoofing: ” Publication of False Bids and Offers

The Senior Yen Trader also asked certain brokers to post false bids and offers for cash
trades to further disseminate false pricing information to the market and other Yen panel banks
and thereby benefit his positions. This is sometimes known as “spoofing the market.” Cash and
Derivatives Brokers, as intermediaries in the market, disseminate bids and offers they receive
from clients, in search of counterparties. As the Senior Yen Trader knew, panel banks took these
bids and offers into consideration when determining their submissions because they help
measure borrowing costs. Seeking to exploit that process for his own benefit, the Senior Yen
Trader encouraged brokers to provide false bids and offers to certain Yen LIBOR submitters to
influence their submissions. For example:

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July 7, 2008: (Emphasis added.)
Senior Yen Rates Trader: “1m libor is causing me a real headache .._ i need it
to start coming lower”
Derivatives Broker B1: “yeah i know mate ... ill try and push a few fictitious
offers ard this mng see if tahts helps”

March 30, 2009: (Emphasis added.)
Senior Yen Trader: “i REALLY REALLY need 1m down to 35 and 3m down to
59 6m 1'd prefer unchanged ... use the turn to push 1m and 3m down as much as
you can... but neeed 3m lower pls by 2bp or so”
Derivatives Broker B1: “ok mate ustd ill get on the case ... ok im gonna get
some spoof offers on the baord 1 3s”
Senior Yen Trader: “.., you working hard for me?”
Derivatives Broker B1: “sure mate of course i know the rules"

The Senior Yen Trader Ensured Interdealer Brokers Were Compensated for Assisting the
Manipulative Scheme

Throughout the period, the Senior Yen Trader sought to ensure the cooperation of brokers
by compensating them in various ways, from offering drinks and bottles of champagne to
steering them additional commission-generating business, to ensuring at least one broker
personally received large cash bonuses. The Senior Yen Trader also used his financial leverage
with at least one broker for whom UBS generated significant commissions by threatening to cut
off UBS’s business with the brokerage if the firm did not comply with his requests.

Extra Trades to Generate Commissions

The Senior Yen Trader routinely offered brokers at Brokerages B, C and D extra
transactions or other business, and thus UBS-paid commissions, to ensure they would provide
needed assistance. For example, the Senior Yen Trader told them:

“T still owe you some deals;”

“we'll do some big tix soon i promise;”

“do the bisness and i’ll sort you out MASSIVE;”

‘if you get 3m down you’ll get a decent deal from me tomorrow;
‘if you manage that for the next 2 weeks you will see the benefits;”
“make sure they know that it pays for them to help out;” and

“i need to pay .. to give ua trade.”

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“Wash” Trades to Generate Commissions

For at least one of the brokers, the Senior Yen Trader used “wash” or “switch” trades to
generate additional corhmissions in return for the broker’s assistance, Generally, a “wash” trade
is a pair of offsetting trades that are intended to negate risk or price competition and that result in
a financial nullity. The trades, however, generate commissions, For example, on September 18,

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2008, the Senior Yen Trader offered Derivatives Broker B1 $50,000 or $100,000 or more in
commissions for his assistance in the Senior Yen Trader’s attempts to manipulate Yen Libor:

“if you keep 6s unchanged today I will do fucking one humongous deal with
you... Like a 50,000 buck deal whatever. I need you to keep it as low as possible
. Dll pay you, you know, 50,000 dollars, 100,000 dollars ... whatever you
want... I’m aman of my word.”

Less than a week later, on September 24, 2008, upon the apparent success of Derivatives
Broker B1, the Senior Yen Trader used this broker to engage in a series of “wash” trades with
several derivatives traders at other panel banks to generate the promised $50,000 in commissions
and fees for Derivatives Broker B1. In fact, from September 2008 to August 2009, the Senior
Yen Trader used Derivatives Broker B1 to engage in at least eight “wash” trades with various
panel banks, generating approximately $286,000 in commissions for Derivatives Broker B1, all
as a payoff for the Derivative Broker B1’s manipulative efforts on behalf of UBS’s Senior Yen
Trader.

UBS Paid a Special Bonus for Cash Broker A

The Senior Yen Trader steered a significant volume of UBS business to his favored
brokers. i.¢., those that helped him in the manipulative scheme. For example, he singlehandedly
accounted for approximately twenty percent of Brokerage A’s Yen Desk’s business, making him
that desk’s biggest client. In return, as described above, Derivatives Broker Al was one of the
Senior Yen Trader’s key contacts for his collusive efforts and they worked as a team in the
manipulative scheme.

The Senior Yen Trader considered Cash Broker A very effective in the scheme,
particularly Cash Broker A’s provision of false information via “run-throughs” to influence panel
banks. However, at times, Cash Broker A resisted the Senior Yen Trader’s requests and
complained internally that he was not adequately compensated for his “services” to the Senior
Yen Trader.

To maintain Cash Broker A’s valuable assistance, the Senior Yen Trader not only
encouraged Brokerage A to pay Cash Broker A bonuses, he also secured a special compensation
package through UBS to pay Cash Broker A as well as the other individual brokers at Brokerage
A who helped the scheme. During the time UBS was renegotiating UBS’s fee structure with
Brokerage A because of all the business UBS generated for Brokerage A, the Senior Yen Trader
lobbied UBS to pay Brokerage A an additional quarterly payment of approximately $27,000 for
the “fixing service,” amounting to approximately $110,000 annually. The payment was
ultimately shared by several other individuals at Brokerage A, with Cash Broker A receiving
approximately $9,000 quarterly. This special compensation package was in place for
approximately two years totaling more than $216,000.

After securing this special compensation for Brokerage A, the Senior Yen Trader became
even more demanding, and expected the brokers at Brokerage A to implement all of his unlawful
requests for false Yen LIBOR suggestions and incorporate them into the run-throughs. On
occasions when Cash Broker A did not honor such requests, the Senior Yen Trader became

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angry and threatened to take away his business. Those threats were taken seriously. The Senior
Yen Trader’s primary contact there, Derivatives Broker Al, and Brokerage A Yen Manager
pressured Cash Broker A to honor the Senior Yen Trader’s requests. For example, on June 28,
2007, Cash Broker A resisted sending a revised “run-through” reflecting the Senior Yen Trader’s
preferred six-month rate. Derivatives Broker Al and Brokerage A Yen Manager had the
following exchange (all caps in original):

Derivatives Broker Al: “... THIS IS GETTING SERIOUS [Senior Yen Trader]
NOT HAPPY WITH THE WAY THINGS ARE PROGRESSING HE IS GOING
TO HAVE A WORD WITH [Derivatives Broker E1] TO RECTIFY THE
SITUATION. CAN YOU PLEASE GET HOLD OF [Cash Broker A] AND GET
HIM TO SEND OUT 6 MOS L IBOR AT 0.865 AND TO GET HIS BANKS
SETTING IT HIGH. THIS IS VERY IMPORTANT BECAUSE HE IS
QUESTIONING MY (AND OUR) WORTH.....GET 6MOS HIGH PLEASE.”
Brokerage A Yen Manager: “mailed him spoke to him, he realises that the
carrot might go if this carries on.”

 

Ultimately, Cash Broker A sent the demanded revised run-through with the six-month
suggested Yen LIBOR at the level requested by the Senior Yen Trader.

Summer 2009 Schemes: the “Turn Campaign” and “Operation 6M”

Throughout his tenure at UBS, the Senior Yen Trader routinely employed each of his
means of manipulation — internal requests, collusion with other panel banks, and coordination
with brokers. At times, he used all three means simultaneously for a longer period to achieve his
objective. This is illustrated by two long-term efforts from June through August 2009, which
were dubbed the “turn campaign” and “operation 6m,” respectively.

By June 2009, the Senior Yen Trader had amassed significant positions in Yen interest
rate swaps tied to one, three and six-month Yen LIBOR, in spreads between the various tenors of
swaps (such as the spread between three-month yen swap and six-month yen swap), and in
spreads between swaps tied to Euroyen TIBOR and Yen LIBOR. The Senior Yen Tradetr’s
positions became so large at various points that the Senior Yen Trader was close to exceeding
internal risk limits imposed by UBS. The largest positions were tied to six-month Yen LIBOR.
Rather than entering into legitimate hedging positions that would offset his risk, however, the
Senior Yen Trader made two coordinated and sustained pushes, to manipulate the official fixings
of six-month Yen LIBOR and Euroyen TIBOR in ways that would benefit his massive positions.

The Turn Campaign

The Turn Campaign commenced in early June 2009. The Senior Yen Trader’s
derivatives positions tied to six-month Yen LIBOR were due to reset or mature on June 29, 2009
and would benefit from a high six-month Yen LIBOR. A single basis point move in Yen LIBOR
was worth approximately $2 million to him. The Senior Yen Trader coordinated with the UBS
Yen Trader-Submitter 1, the primary four brokers he used, and his friend, the Trader-Submitter
at Yen Bank F, to try to keep six-month Yen LIBOR high. He explained how they should

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accomplish his objective. He quantified and emphasized for them the potential impact on his
derivatives trading positions. He encouraged the brokers to push submitters at other panel banks
for high six-month Yen LIBOR submissions and to provide “spoof bids” to the market so market
participants believed the rates were rising. At times, some of the brokers agreed to enforce the
plan by confronting other banks that acted against his interests,

The following are examples of Turn Campaign communications:

June 10, 2009: (Emphasis added.)
Senior Yen Trader: “LOW 1m LOW 3m HIGH 6m 6m is important today mate
pls spoof bids.”
Derivatives Broker B1: “rite ok mate ill make a special effort”

June 12, 2009: (Emphasis added.)
Senior Yen Trader: “i have such big positions on monday i have 1.5m usd a bp
6m fix will ask [Yen Bank F Trader/Submitter] for a one day favour we will
move up for one day too”
Derivatives Broker A2: “i know mate, i'm trying to keep on top of it, if it moves
out of line for 10 secs you know i'll see it and pull it back.”

June 16, 2009: (Emphasis added.)
Derivatives Broker Al: “Good morning mate.....,the "turn campaign" begins
today. Will put an e-mail together at lunchtime to [Cash Broker A].”
Senior Yen Trader: “thx.”

June 17, 2009: (Emphasis added.)
Senior Yen Trader: “can you start having chats with your boys about 6m over
the turn? i'd be interested to see what they think it'll go up by anyway low3,
lowlm] high 6m”
Derivatives Broker B1: “ok mate will do”
Senior Yen Trader: “but to be honest am quite happy with them all unchanged so
don't bust a gut main thing now is to start planting the seed of the turn just
casual chatting you know”
Derivatives Broker B1: “yep sure thing mate ill start having the converstaion
with some guys here”
Senior Yen Trader: “just ask em what they think it'll move by...and say other
people think maybe 3bp ie talk it up lots”
Derivatives Broker B1: “yes ok mate understood ill do what i can to help”
Senior Yen Trader: “u da man”
Derivatives Broker B1: “aim to please mate” ’

June 24, 2009: (Emphasis added.)
Senior Yen Trader: “6m is huge for me on monday...”
Derivatives Broker Al: “i have been putting arbi pressure on [Cash Broker A]
and [Brokerage A Yen Manager]...would help your cause to also speak to

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[Brokerage A Yen Manager] on friday regarding the turn squeeze and its
importance... i will remind you.”

Senior Yen Trader: “.,.thanks i will get [Derivatives Broker B1] on the case too
remind me to get in touch with [Yen Bank F Trader-Submitter].”
Derivatives Broker Al: “yeah need to pull out the big guns for this one, don't
let [Yen Bank F Trader-Submitter] forget either. :~)es”

June 25, 2009:
Senior Yen Trader: “can you put 6m up on monday when we go through the turn
just for a week or so? ... you did say you'd try to help me out!”
Yen Bank F Trader-Submitter: “yes have eno fixing untill 06/07 so i can”
Senior Yen Trader: “thanks mate”

June 26, 2009: (Emphasis added.)
Senior Yen Trader: “pls tell your cash boys i need a high 6m is v v important”
Derivatives Broker C2: “what lvl shall I suggest? .. yesterday's drop was a bit
of a shocker (in 6m libor) any idea why that happened? ...”
Senior Yen Trader: “2 people moved it 11bp between them”
_ Derivatives Broker C2: “the cheek who was it?”
Senior Yen Trader: “[Yen Bank M] and [Yen Bank N]. if you can have a
word”
Derivatives Broker C2: “will do mate”

SROKA B

Senior Yen Trader: “i need you to move 6m up for 2 weeks mate... but please
move 6m up on monday.”

Yen Bank F Trader/Submitter: “understood”

Senior Yen Trader: “thx i need you in the panel on Monday”

Yen Bank F Trader/Submitter: “ok enough”

On the day of the fixing, June 29, 2009, the Senior Yen Trader made one final push to
manipulate higher the six-month Yen LIBOR fixing. He confirmed his expectations of a high
submission with the UBS Yen Trader-Submitter 1 and Yen Bank F Trader-Submitter. He also
ensured that Derivatives Broker Al would contact each panel bank. They discussed the expected
submission by each bank and what strategy Brokerage A would employ to try to get each
submission higher to meet Senior Yen Trader’s goal, such as a “few spoof bids” or direct urging
of the various submitters. The following are excerpts from the numerous conversations the
Senior Yen Trader had that day with Yen Bank F Trader-Submitter, UBS Yen Trader-Submitter
1 and the brokers:

June 29, 2009:
Internal Request: (Emphasis added.)
Senior Yen Trader: “hi..,.6m cash crosses the year end today we have huge
fixings”
Yen Trader-Submitter 1: “indeed”
Senior Yen Trader: “can we set 6m libor high pls?...
Yen Trader Submitter 1: “...we dont have any fix at mom”

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Senior Yen Trader: “can we go 74 or 75? we have 2m usd a bp fix for the next
week i think a lot of people are going to move it up today well i hope”
Yen Trader-Submitter 1: “yes sure will. i go with 0.75 for you.”

ah eo oR ae ok ok

External Request to Yen Bank F: (Emphasis added.)
Senior Yen Trader: “pls remember 6m today...”
Yen Bank F Trader-Submitter: “yah no worries...6m libor today good contrib?”
Senior Yen Trader: “high pls as high as you can manage we are going 75
anyway whatever you can do thx.”
Yen Bank F Trader-Submitter: “sure np...”

ak sft oR a ok ok ak

Request to Broker: (Emphasis added.)

Senior Yen Trader: “ok lets go thru em one by one.”

Derivatives Broker BI: “sure”

Senior Yen Trader: “first up try to get all libors up i don't care if 1m and 3m go
up too lets go for 3bp on 6m_ also tibors were up pls use that with the japanese
banks”

Derivatives Broker Bl: “ok”

Senior Yen Trader: “...make sure [the banks] all know its the turn...”
Derivatives Broker B1: “yeah thats needed bevcasuse sometimes poepel forget
and set them the same...”

Senior Yen Trader: “...do your best and i'll sort u out.”

Derivatives Broker Bl: “[Yen Bank K] rite i know him he speak to my dolla desk
thats where r orders come from ill have a word with him amnd ask to get it up ok
mate”

Senior Yen Trader: “v v v important. pls try extra extra hard mate”

Derivatives Broker B1: “i will mate i know yu need it.”

Senior Yen Trader: “ok mate i going in 3m pls pls pls try we are going 75 so
is [Yen Bank F]”

Derivatives Broker B1: “ok cheers.”

Senior Yen Trader: “get em up mate”

Derivatives Broker B1: “all trying really hard”

Although the Yen LIBOR fixing began to drop slowly over the month of June 2009, the
fixing actually rose by three quarters of a basis point on June 29, as compared to the previous
fixing on June 26, UBS increased its submission on June 29 by 3 basis points, and Yen Bank F
increased its submission by 6 basis points. Five other banks in the panel, all of which were
discussed by the Senior Yen Trader and Derivatives Broker B1 in their planning call on June 29,
also increased their submissions two to five basis points.'? While the move in the fixing was not
as great as needed for his positions, the increase was sufficient enough to reduce the losses
experienced by the Senior Yen Trader.

 

7 The Commission finds that other panel banks made submissions that were consistent with the Senior

Yen Trader’s requests. The Commission does so without addressing whether or not such banks made
such submissions as a result of the Senior Yen Trader’s requests.

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Operation 6M

During the Turn Campaign, the Senior Yen Trader began his second effort to push six-
month Yen LIBOR high after June, in an effort he dubbed, “Operation 6m.” Operation 6m was a
campaign by the Senior Yen Trader to manipulate the six-month Yen LIBOR fixing upwards
over several weeks through July, and then to cause the six-month Yen LIBOR fixing to drop
dramatically in mid-August. The Senior Yen Trader also remained focused on the Euroyen
TIBOR fixing, which would impact his derivatives trading positions on the spread between
Euroyen TIBOR and Yen LIBOR.

The motivation for this effort was clear. If the Senior Yen Trader was successful in
causing an increase to the six-month Yen LIBOR between the end of July and then a drop in the
fixing in mid-August, the UBS Yen Desk stood to gain hundreds of millions of dollars.

As with the Turn Campaign, the Senior Yen Trader’s key contacts at certain brokerages
and his friend Yen Bank F Trader-Submitter were critical to his plan, The Senior Yen Trader
emphasized that he was trying to benefit his derivatives trading positions and manage his
massive risk position. He explained he was under pressure from UBS to reduce his substantial
risk position.

The following are examples of the communications surrounding the beginning of
Operation 6m in late June and July.

June 24, 2009: (Emphasis added.)
Derivatives Broker Al: “Morning..., [Yen Bank B] must have had some fixings,
not helping”

Senior Yen Trader: “he on drugs for once i just want them static and they are
falling!...pls try to keep ly low on screen mate yeah i just need thgis 6m gap
for 2weeks”

Derivatives Broker Al: “will do my best mate”

Senior Yen Trader: “then they can all go down hopefully tibor will stay high
operation 6m.”

Derivatives Broker Al: “;-)...

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June 26, 2009:
‘ oe
Senior Yen Trader but for the next 2weeks i really really need you te put 6m
: 32
higfher

Yen Bank F Trader-Submitter: “what is the adte just that i know?”

Senior Yen Trader: “july 14...after that i need 6m to crash off like you.”

Yen Bank F Trader-Submitter: “that is no problem for me, i do nothing with the
cash guys until then. ...”

Senior Yen Trader: “... i will then get our 6m way down after july 18th it is
Yen Bank F Trader-Submitter: “ok”

Senior Yen Trader: “and will try to get everyone else down too”

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Yen Bank F Trader-Submitter: “when is the lest fixing date?...the last july fixing
date??”

Senior Yen Trader: “18th...then i a need low low low...sry 17th...i happy for all
libors off after that date..,only reason i on bid is i have huge huge position that
way so am happy for to come lower after the 17th”

Yen Bank F Trader-Submitter: “ok enough enopugh...”

July 1, 2009:
Senior Yen Trader: “hi.... are we planning on moving libors or just going
unch?”
Yen Trader- Submitter 1: “i would have gone slightly lower in 6s but if you wish
ican leave it unchanged”
Senior Yen Trader: “thx really need it unch for next 2wk then low as you want”
Yen Trader- Submitter 1: “ok 0.71 unc”
Senior Yen Trader: “ta.”

July 7, 2009: (Emphasis added.)
Senior Yen Trader: “mate u gotta help with [Yen Bank J]”
Derivatives Broker B1: “ill do my best to ask amte ok”
Senior Yen Trader: “pls if he only goes up 2bp that brings em back 0.25 no
one will notice”
Derivatives Broker Bl: “sure ok mate ill try ill run him thru a bit higher this
mng aswell to try and show it small higher”
Senior Yen Trader: “just bid him some as well then he can tell his bosses look
its bid here thats all he needs to do say well its bid here and we can't offer
it”
Derivatives Broker B1: “ok sure mate i can only ask not tell him as yu know ok”
Senior Yen Trader: “y but he loves you mate he told me.”
Derivatives Broker B1: “hahahah rite ill try and be his friend nomn juts his
broker”

July 14, 2009:
Senior Yen Trader to Yen Bank F Trader-Submitter: “...just fyg after eom [end
of month] will get 6m down a lot. we will move from top to bottom and so will
[Yen Panel Bank J]”

July 15, 2009: (Emphasis added.)
Derivatives Broker C/D 1: “... ha ha ok mate i can see you as captain chaos
cash still looking a touch easier but nothing much going on arbi are starting to
produce bids so hopefully the offers may go back”
Senior Yen Trader: “ok i only need 6m high this month then you MUST get it
lower alot lower pls keep 3m and 1m unch.”
Derivatives Broker C/D 1: “ok...”

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Avoiding Conflict with Yen Bank F Trader-Submitter’s Interests

During Operation 6m (and at other times), the Senior Yen Trader offered to enter into
trades with Yen Bank F Trader-Submitter to ensure that their respective interests aligned and
Yen Bank F Trader would not have a conflict that prevented him from helping the Senior Yen
Trader with his attempt to manipulate the Yen LIBOR fixing, '8 The Senior Yen Trader urged
Yen Bank F Trader: “tell me what you need to see. i have a vested interest in making sure our
fixings match.” As he was so concerned that Yen Bank F not make a competing submission, the
Senior Yen Trader offered such trades even at prices that were not beneficial to him to entice
Yen Bank F Trader-Submitter, and the latter often accepted. For example on July 21, 2009, the
Senior Yen Trader outlined his plan, the size of his positions, the need to reduce his risk and how
Yen Bank F Trader-Submitter could benefit from an attractive trade:

Senior Yen Trader: “i been asked to reduce risk a bit”

Yen Bank F Trader-Submitter: “ok”

Senior Yen Trader: “i still going for lower 6m next month but position is huge if
you want to do some ly I/t 1 wld help me on risk limits obviously i am still very
much paid and need a low 6m from next week”

Yen Bank F Trader-Submitter: “me paying | in ly?”

Senior Yen Trader: “y i don't want to do it but risk are going nuts position is v
v big itold them already 6m will be lower next month problem is all my 6m
fixes this month rolled and iam left too 1 way completely up to you ifnot i'll
give some 3m I/t.”

Yen Bank F Trader-Submitter: “... does not suit me taht much today need high
6m libor today.....”

Senior Yen Trader: “same how about we do Ov6 spot as well? so no fix today
i just need to keep the risk guys at bay 200b Ly will bring me in limit i will
pay you .665 for 0v6 today in same amount to knock the fix out if you need i
think it does nothing today the fix that is wld be a massive favour...if you do
200b ly then what net fix are you left with? i will hedge the balance so you are
neutral”

Yen Bank F Trader-Submitter: “can i do 200 and lower my 6m quote? oor we
cross fra up to you mate”

Senior Yen Trader: “rahter just cross the fra pls”

Yen Bank F Trader-Submitter: “that is fair ok we done”

Senior Yen Trader: “thanks”

(Emphasis added.)

The Last Phase of Operation 6M
As Operation 6m moved from the end of July, the Senior Yen Trader shifted his efforts

from attempting to increase the six-month Yen LIBOR higher, to ensuring that the fixing would
be lower in August to benefit his derivative trading positions that were due to reset in mid-

 

'8 The Senior Yen Trader offered similar offsetting trades to UBS Trader-Submitters when their

positions stood to be negatively impacted by a manipulation that favored the Senior Yen Trader. (see
pp. 15-16.)

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August. Derivatives Broker Al advised the Senior Yen Trader to be careful with his efforts and
to avoid too obvious changes in the rate. The Senior Yen Trader assured him not to worry, and
that he was coordinated with Yen Panel Banks F and J:

July 22, 2009: (Emphasis added.)
Senior Yen Trader: “11th aug is the big date 1 still have lots of 6m fixings till
the 10th”
Derivatives Broker Al: “christ keeps getting extended started off as 14th of this
month:-)”
Senior Yen Trader: “i know”
Derivatives Broker Al: “if you drop your 6m dramatically on the 11th mate,
it will look v fishy, especially if [Yen Bank J] and [Yen Bank F] go with you I'd
be v careful how you play it, there might be cause for a drop as you cross into a
new month but a couple of weeks in might get people questioning you.”
Senior Yen Trader: “don't worry will stagger the drops ie S5bp then 5bp”
Derivatives Broker Al: “ok mate, don't want you getting into sh it”
Senior Yen Trader: “us then [Yen Bank F] then [Yen Bank J] then us then
[Yen Bank F] then [Yen Bank J]”
Derivatives Broker Al: “great the plan is hatched and sounds sensible”

In August 2009, when the Senior Yen Trader was on an extended absence from the
office, he ensured that in his absence the brokers and UBS Yen Trader 2 had instructions on how
to attempt to move the six-month Yen LIBOR. Derivatives Broker Al followed through and
worked closely with Yen Trader 2 to accomplish the objectives of the Senior Yen Trader. In his
conversations with Yen Trader 2, Derivatives Broker Al assured him, “I know what you need in
terms of libors and will let you know what my cash guru in london honestly feels as to their
movements each day....he has his ‘arbitrage’ instructions!”

In July, the submissions of UBS and Yen Bank F both moved higher consistent with the
plan. In August, the submissions of all three banks, UBS, Yen Bank F and Yen Bank J, all
moved lower consistent with the plan. By August 11, the day of the Senior Yen Trader’s desired
‘drop in the fixing, the submissions of all three banks dropped, such that Yen Banks F and J were
in the bottom quartile of the submitting banks while UBS was included in the fix calculation.
Specifically, from late July through mid-August, UBS’s submission fell 12 basis points, and Yen
Banks F and J’s submissions fell by 14 and 15 basis points, respectively.’” In contrast, the
largest change in any other submitting bank’s submission during this time was a drop of eight
basis points and the average change among the other thirteen banks was a decrease of about four
basis points.

 

'° Again the Commission finds that other panel banks made submissions that were consistent with the

Senior Yen Trader’s requests. The Commission does so without addressing whether or not such banks
made such submissions as a result of the Senior Yen Trader’s requests:

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UBS Continued Manipulative Conduct Concerning Yen LIBOR and Euroyen TIBOR After
the Senior Yen Trader Left UBS

Traders on UBS’s Yen Desk continued, at times, to attempt to manipulate Yen LIBOR
and Euroyen TIBOR to benefit UBS’s derivatives trading positions after the Senior Yen Trader
left UBS in September 2009.”° These traders utilized some of the same methods — internal
requests, use of interdealer brokers and attempts to coordinate with other banks. At least one
broker reached out shortly after the Senior Yen Trader’s departure to assure a UBS Yen
Derivatives Trader that he would continue to help UBS influence how the rates were submitted
by other banks. For example, on September 10, 2009, UBS Yen Trader 2 reminded Derivatives
Broker Al that “Monday is the d-day” due to big fixes on swap transactions tied to three and six-
month LIBOR, both of which he needed low. Derivatives Broker Al, who by then was deeply
experienced with the manipulative scheme, assured the Yen Trader 2 that they could influence
the three-month fix, and that the broker stood ready to help:

“*..you realise that you have the ability to influence the 3m fix, you are currently
sitting at the upper end of the range. The 6m will have to come down to others as
you are already v low...i'll remind you to chase your cash boys as well:-)”

UBS Yen Trader 2 also reached out for help to Derivatives Broker B1, who similarly
reassured him that he regularly spoke to at least seven other panel bank submitters and he would
try to help Yen Trader 2, if he needed the help.

The UBS Yen Derivatives Traders, on their own and at the direction of the Yen Desk
Manager, also on occasion continued to try to manipulate the Yen LIBOR and Euroyen TIBOR
through UBS’s submissions in order to manage the Senior Yen Trader’s positions and minimize
UBS’s losses as it attempted to trade out of those positions he left behind, or to benefit their own
derivatives trading positions. For example:

February 19, 2010:
Yen Trader 3: “need it to not go up in jpy basically unchanged for our libor
suggestions pls”
Yen Trader-Submitter 1: “yes especially 6m agreed”

March 23, 2010:
Yen Trader-Submitter 1: ‘“[Yen Trader 2] doesnt really want us to move 6s lib
lower as other market players might figure out our posi when we are too extreme.
for the mom he suggested to leave it unch. last time i lowered it was when we
discussed it a few weeks back. since then always unch fyi”
Yen Trader 3: “ok unch is a good idea”

 

*9 Prior to the Senior Yen Trader’s departure, as he was trying to renegotiate his compensation, at least

one UBS manager elevated concerns about the “embarrassing” practices of the Senior Yen Trader to |
higher level managers, Despite such concerns being elevated, those at UBS who had been unaware of the
misconduct made no meaningful efforts to determine whether the Senior Yen Trader had engaged in
inappropriate or unlawful behavior.

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e. UBS’s Attempts to Manipulate Other LIBOR Currencies and Euribor

Numerous UBS derivatives traders attempted to manipulate the official fixings of
LIBORs for currencies other than Yen, including Swiss Franc, Sterling and Euro, and other
benchmaik interest rates, including Euribor, to benefit their derivatives trading positions.”'
Moreover, the Trader-Submitters for certain benchmark interest rates regularly made
submissions to benefit their trading positions. With respect to at least some currencies during
certain periods, this occurred on a daily basis.

Swiss Franc LIBOR

From at least January 2005 through at least September 2009, on a regular basis, UBS’s
Swiss Franc Trader-Submitters adjusted UBS’s Swiss Franc LIBOR submissions to benefit
UBS’s trading positions, The Swiss Franc Trader-Submitters’ standard practice was to round
their Swiss Franc LIBOR submissions by a quarter or a half of a basis point to benefit UBS’s net
Swiss Franc LIBOR position based on STIR’s Swiss Franc trading book and other Swiss Franc
LIBOR-related positions that were reported to them. This was known on the desk as the “fixing
interest,”

The Swiss Franc LIBOR Trader-Submitters also accommodated the requests of other
Swiss Franc Derivatives Traders. For example, on July 5, 2006, a Swiss Franc Derivatives
Trader told a Swiss Franc Trader-Submitter that he was on the receiving end of a large fixing
tied to one-month Swiss Franc LIBOR at the end of July, and, therefore, he wanted a high one-
month fixing. The Trader-Submitter agreed to make his submission high, stating that it would
not be a problem, Such requests were either in written, in chats, or oral.

Sterling LIBOR

From at least November 2007 through at least September 2009, UBS Sterling Derivatives
Traders responsible for Sterling LIBOR submissions received at least ninety requests from
Derivatives Traders to adjust UBS’s Sterling LIBOR submissions in a manner that would benefit
their derivatives trading positions. The focus of requests, as with other currencies, was greatest
when the Derivatives Traders had significant fixings on their swaps positions. UBS’s Sterling
Trader-Submitters regularly acknowledged and followed these requests. On occasion, the
Trader-Submitters contacted the Derivatives Traders before making submissions to determine if
the Derivatives Traders had any preferences as to the rates UBS would submit for Sterling
LIBOR. In addition, the Sterling Trader-Submitters at times would consider the STIR desk’s
own derivatives trading positions, and adjust the Sterling LIBOR submissions to benefit those
trading positions. For example, in February, 2008, a Sterling Trader-Submitter and a manager
had the following communications:

 

2) Through its internal investigation, UBS identified evidence of similar misconduct involving

submissions for at least the Hong Kong Interbank Offered Rate (“CHIBOR”), the Singapore Interbank
Offered Rate (““SIBOR”), the Singapore Swap Offer Rate (“SOR”) and the Australian Bank Bill Swap
Rate (“BBSW”),

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February 27, 2008: (Emphasis added.)
Sterling Trader-Submitter 1: “do u guys have any axe?”
Rates Manager A: “let me check as high as possible pls sir”
Sterling Trader-Submitter 1: “ok i go 70... ushd let me know ur [daily] axes for
fixings mate”
Rates Manager A: “will do on days we have big fixings”

February 28, 2008:
Rates Manager A: “hey mate we want a really low fixing tomorrow in 3m”
Sterling Trader-Submitter 1: “i have no axe mate so that fine...”
Rates Manager A: “...try and get the fixing lower have a £100k fixing
tomorrow”
Sterling Trader-Submitter 1: “wow ok k”

Commencing in or around the summer of 2008 and continuing until September 2009, a
member of UBS’s STIR management also sought to ensure that derivatives trading positions
were consistently being taken into account. Senior STIR Manager A instructed the Trader-
Submitters who were based in Zurich to consult each morning with the UBS Sterling Derivatives
Traders in London to determine their net risk with respect to the derivatives trading positions and
to adjust UBS’s Sterling LIBOR submissions accordingly to benefit those positions. The Trader-
Submitters complied with the instruction and at that point adjusted their Sterling LIBOR
submissions each day based on information obtained daily from the London-based traders about
their net positions tied to Sterling. For example, on March 16, 2009, a Sterling Trader-Submitter
and a Derivatives Trader had the following communication:

Sterling Trader 1: “ive got a big 6m fix rec 110k gbp of the fix so a nice high
one will be nice”
Sterling Trader-Submitter 2: “so very high 6m”

Sterling Trader 1: “yes pls!”
Sterling Trader-Submitter 2: “ok”

Euro LIBOR and Euribor

Over an approximately four-year period, from at least September 2005 through at least
October 2009, UBS’s Euro LIBOR and Euribor submissions were based, at times, in whole or in
part, on UBS’s Euro-based derivatives positions.

UBS Euro Trader-Submitters considered UBS’s net Euro positions on the Rates desk that
were valued or priced off of Euro LIBOR or Euribor. To determine the rates to submit that
would be beneficial to UBS’s trading positions, the Trader-Submitters reviewed UBS’s
derivatives transactions and consulted with and obtained information from other UBS Euro
Derivatives Traders. Based on that information, UBS’s Euro Trader-Submitters adjusted UBS’s
Euro LIBOR and Euribor submissions to benefit the derivatives trading positions. This occurred
on a regular, if not daily, basis.

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